



















NO. 07-10-00013-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL D

&nbsp;



JUNE
29, 2010

&nbsp;



&nbsp;

RANDY BROWN, APPELLANT

&nbsp;

v.

&nbsp;

BILL HOLMAN AND CLAYTEX PROPERTIES, INC., APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 97TH DISTRICT COURT OF CLAY
COUNTY;

&nbsp;

NO. 2008-0000187C-CV; HONORABLE ROGER E. TOWERY, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and PIRTLE, JJ.

&nbsp;

&nbsp;

ORDER ON MOTION TO CONSOLIDATE

&nbsp;

Appellee ClayTex
Properties, Inc. has filed a motion asking us to consolidate the present appeal
with a case filed June 1, 2010, in the 97th District Court of Clay County.&nbsp; ClayTex presents no
authority supporting the relief requested.&nbsp;
A notice of appeal perfecting an appeal to this court of the June 1 case
has not been filed.&nbsp; Indeed, ClayTex offers nothing demonstrating the June 1 case has
produced a final, appealable judgment or an interlocutory order made appealable
by statute.&nbsp; Moreover, Clay County is
located in the Second Court of Appeals District and no order from the Supreme Court
of Texas transferring the June 1 case to this court is presented.[1]&nbsp; Tex. Gov’t
Code Ann. § 22.201(c) (Vernon 2004).

In a civil case, appeal is perfected
by timely filing a notice of appeal.&nbsp; Cadzow v. Wells Fargo Banks, N.A.,
No. 07-09-0330-CV 2009 Tex. App. Lexis 9237, at *1 (Tex.App.--Amarillo
Nov. 30, 2009) (mem. op.) (citing
Tex. R. App. P. 25.1(a)).&nbsp; We have
limited appellate jurisdiction “over final judgments and such interlocutory
orders as the legislature deems appealable.”&nbsp;
Ruiz v. Ruiz,
946 S.W.2d 123, 124 (Tex.App.--El Paso 1997, no writ)
(per curiam).&nbsp;
Our appellate jurisdiction is generally limited to cases appealed from
trial courts within our district.&nbsp; Brooks v. State, No.
07-07-0505-CR, 2008 Tex. App. Lexis 629, at *2 (Tex.App.--Amarillo
Jan. 30, 2008, no pet.) (mem. op., not designated for publication).&nbsp; “Only the Supreme Court is authorized to
transfer appellate cases.”&nbsp; Miles v. Ford Motor Co.,
914 S.W.2d 135, 137 (Tex. 1995) (per curiam); Tex. Gov’t Code Ann. § 73.001 (Vernon 2005).

Because no perfected appeal of a final
judgment or appealable interlocutory order from the June 1 case is before us
and because the June 1 case was filed in a trial court outside our appellate
district and no transfer order is of record, we are without jurisdiction to
consider the merits of ClayTex’s motion.&nbsp; Accordingly, we dismiss the motion. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is so ordered.

Per Curiam

&nbsp;











[1]&nbsp; The present
appeal was transferred to this court by docket equalization order of the
Supreme Court of Texas. 







